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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    MARIA HERNANDEZ, et al.,                           Case No.: 3:19-cv-1636-AJB-AHG
12                                     Plaintiffs,       ORDER:
13    v.
                                                         (1) VACATING SCHEDULING
14    SOUTHWEST KEY PROGRAMS, INC.,                      ORDER DEADLINES; and
      et al.,
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                                    Defendants.          (2) SETTING DEADLINE FOR
16                                                       DEFENDANTS TO FILE MOTION
                                                         FOR SUMMARY JUDGMENT
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           Pursuant to Rule 16.1(c) of the Local Rules, the Court held an Early Neutral
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     Evaluation Conference (“ENE”) in this matter on February 6, 2020. During the ENE, the
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     Court discussed the status of discovery and progress toward class certification with the
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     parties. Defendants intend to file a motion for summary judgment that would impact the
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     scope of the proposed classes if granted. Because it would be more efficient to address the
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     motion for summary judgment before the motion for class certification, the Court
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     ORDERS as follows:
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           1. The class discovery deadline of February 28, 2020 set forth in the Court’s
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 1            Scheduling Order (ECF No. 23) is hereby VACATED. 1
 2         2. The briefing schedule for Plaintiffs’ class certification motion is VACATED and
 3            RESET as a briefing schedule for Defendants’ motion for summary judgment.
 4            Therefore, Defendants must file the summary judgment motion by March 30,
 5            2020. Plaintiffs’ Response is due by April 27, 2020. Defendants’ Reply is due
 6            by May 11, 2020.
 7         3. Defendants must inform Plaintiffs of all the grounds for their intended summary
 8            judgment motion no later than February 19, 2020.
 9         4. Counsel for the parties must contact Judge Goddard’s chambers within three
10            court days after the summary judgment motion is resolved. The Court will set a
11            telephonic status conference to reset the Scheduling Order deadlines at that time.
12         The parties are directed to review and adhere to the Court’s requirements governing
13   discovery disputes, as set forth in the Scheduling Order and the Chambers Rules of
14   Magistrate Judge Allison H. Goddard. See ECF No. 23 at 2.
15         IT IS SO ORDERED.
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17   Dated: February 7, 2020
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       Although the Court set a deadline for class discovery only, the Court reminds the parties
28   that fact and class discovery are not bifurcated. See ECF No. 23 at 1.

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